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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

 BRITTANY BONGIOVANNI, et al.
                               Plaintiffs,
          v.                                        Case No. 3:22-cv-580-MMH-MCR
 LLOYD AUSTIN, III., in his official
 capacity as Secretary of Defense, et al.,
                               Defendants.


                                   MOTION TO DISMISS

          Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants

 move to dismiss this Action. The grounds for this motion are set forth below.

                                MEMORANDUM OF LAW

          More    than   one     million     Americans   have   died   from   COVID-19.

 https://www.cdc.gov/coronavirus/2019-ncov/covid-data/covidview/index.html.

 Seeking to protect the force and military mission in the face of one of the worst

 pandemics in history and the harms that had already occurred to military forces,

 Secretary of Defense Austin directed the military departments to add the COVID-19

 vaccination to the list of those required for Service members to remain fit for military

 service. The military has long maintained an immunization program to maintain

 strategic readiness by maintaining and protecting the health of personnel from

 naturally occurring diseases or pathogens endemic to specific duty or deployment

 areas.




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       Plaintiffs—four Sailors in the Navy—object to the military’s readiness policy

 and seek an order from this Court that would require their commanding officers to

 maintain them in their billets and deem them fit for deployment as if they were

 vaccinated. Such relief would be manifestly improper, particularly in the military

 context where the Supreme Court and this Circuit’s precedents have consistently

 cautioned against judicial interference. As Justice Kavanaugh emphasized in a recent

 concurrence, “[u]nder Article II of the Constitution, the President of the United States,

 not any federal judge, is the Commander in Chief of the Armed Forces,” and there is

 no basis to “employ[] the judicial power in a manner that military commanders believe

 would impair the military of the United States as it defends the American people.”

 Austin v. U.S. Navy SEALs 1-26, 142 S. Ct. 1301, 1302 (2022) (Kavanaugh, J.,

 concurring) (mem.). Plaintiffs also seek an order that would require the Navy to retain

 them. But the Navy has not decided whether to retain or separate any Plaintiff.

       This Court should dismiss this Action. First, the Court may not dictate the

 Navy’s deployment, assignment, and other operational decisions. The Court otherwise

 lacks jurisdiction over this matter because the involuntary discharge Plaintiffs seek to

 redress may not occur at all. The Supreme Court has held that judicial interference

 with a military administrative discharge proceeding was premature where, as here, the

 service Secretary has not yet acted on the discharge recommendation and has not

 decided whether to separate the officer. Beard v. Stahr, 370 U.S. 41, 42 (1962). Indeed,

 in this Circuit, if such a “suit was filed before discharge, the court may not stay the

 discharge pending exhaustion of administrative remedies.” Hodges v. Callway, 499 F.2d

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 417, 421 (5th Cir. 1974). 1 Rather, judicial redress of injuries arising from Navy

 personnel actions must await a final decision on a petition for relief from the Board for

 Correction of Naval Records (“BCNR”). See id. at 420; see also Chappell v. Wallace, 462

 U.S. 296, 303 (1983) (“Board decisions are subject to judicial review[.]”). Until that

 time, “the doors of the federal courthouse [are] closed[.]” Hodges, 499 F.2d at 420.

 “While [Plaintiffs] may ultimately have recourse to the courts to protect [their]

 constitutional rights, the courts will not interfere with the disciplinary or executive

 functions of the armed services.” McCurdy v. Zuckert, 359 F.2d 491, 495 n.6 (5th Cir.

 1966). Because there is no sound basis for the Court to continue to entertain this case

 at this time, the Court should dismiss it. Moreover, Plaintiffs’ claims fail as a matter

 of law.

                                        BACKGROUND

 I.     10 U.S.C. § 1107a and FDA-Approved COVID-19 Vaccines

        10 U.S.C. § 1107a makes no mention of religious or philosophical objections to

 any medical product. It provides that “[i]n the case of the administration of [an EUA]

 product . . . to members of the armed forces, the condition described in” the Food,

 Drug and Cosmetic Act (“FDCA”), 21 U.S.C. § 360bbb-3, “designed to ensure that

 individuals are informed of an option to accept or refuse administration of a product,

 may be waived only by the President only if the President determines, in writing, that

 complying with such requirement is not in the interests of national security.” 10 U.S.C.


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         Decisions of the Fifth Circuit rendered before October 1, 1981, are binding precedent in the
 Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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 § 1107a. A comprehensive analysis of the FDCA provision and its cognate provisions,

 § 1107a, is available in a 2021 Office of Legal Counsel opinion. 2

        On August 23, 2021, the FDA approved a Biologics License Application

 (“BLA”) for the Pfizer vaccine, for individuals who are 16 years of age and older. ECF

 No. 1-4. A BLA is an application for approval to introduce, or deliver for introduction,

 a biologic product into interstate commerce. 21 C.F.R. § 601.2. 3 “Comirnaty” 4 is also

 available under an EUA for the approved and other uses. At the time of approval, the

 FDA worked with Pfizer to identify “BLA-compliant” lots of the vaccine, which are

 lots of the vaccine that were manufactured in facilities listed in the BLA and that had

 undergone lot release, but which bore the EUA label. 5 The FDA additionally

 determined that the approved and EUA vaccine could be used interchangeably

 without        presenting       any        safety       or      effectiveness        concerns.

 https://www.fda.gov/media/150386/download, at 3 n.15. On January 31, 2022, the

 FDA approved a second COVID-19 vaccine, Spikevax, manufactured by

 ModernaTX, Inc. https://www.fda.gov/media/155815/download.




        2
           Dep’t of Justice, WHETHER SECTION 564 OF THE [FDCA] PROHIBITS ENTITIES FROM
 REQUIRING THE USE OF A VACCINE SUBJECT TO AN [EUA], 45 Op. O.L.C. ___, slip op. (July 6,
 2021), https://www.justice.gov/olc/file/1415446/download.
        3
            See FDA, Biologics License Applications (BLA) Process (CBER) (Jan. 27, 2021),
 https://www.fda.gov/vaccines-blood-biologics/development-approval-process-cber/biologics-
 license-applications-bla-process-cber.
         4
           “Comirnaty” is the proprietary name of a COVID-19 vaccine manufactured by Pfizer, Inc.
 ECF No. 1-4.
        5
          See FDA, Summary Basis for Regulatory Action (Nov. 8, 2021) at 27,
 https://www.fda.gov/media/151733/download.

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 II.    Plaintiffs’ Opportunities to Persuade the Navy to Retain Them

        Absent a pending or approved exemption, a Navy Sailor who refuses to comply

 with an order to be vaccinated against COVID-19 will be processed for administrative

 separation. Declaration of William Merz ¶ 13 (“Merz Decl.”), ECF No. 31-10. But

 separation is not the immediate or certain outcome of this process. Id. ¶ 15. Rather,

 the initiation of separation proceedings is just the beginning of an extensive

 administrative opportunity to present evidence and argument that separation would

 be unwise or contrary to law. Sailors with more than six years of service—like Plaintiffs

 Kins, Macie, and Montoya—may elect an administrative board procedure, where they

 are entitled to representation by counsel at no expense to themselves. Id. ¶ 15.a-c; Am.

 Compl. ¶¶ 12-14. The Sailor (through counsel) may proffer evidence, call witnesses,

 and present arguments to the board as to why he or she should not be separated and

 regarding his character of service. Merz Decl. ¶ 15. The Navy bears the burden of

 proving by a preponderance of the evidence that the basis of the evidence is met and

 that the respondent should be recommended for separation. Id. The board then makes

 a recommendation to separate or retain the Sailor. Id. If the board finds no basis for

 separation or that the officer should be retained, the case will be closed and the report

 of misconduct will not be entered into the officer’s official file. Id.

        If the Board recommends the officer for separation, the recommendation

 (including a recommended characterization of service), a record of proceedings, and

 any additional statement by the Sailor are routed to the Assistant Secretary of the

 Navy. Id. The Assistant Secretary of the Navy then exercises discretion whether to

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 accept the recommendation or disagree with the Board and retain the officer. Id. If

 separation is approved, the decision is then transmitted via naval message to the

 officer’s command, which effectuates the separation. Id. ¶ 16. The officer then must

 be separated within 60 days of the approved separation notice. Id.

       Although the proceedings available to Plaintiff Bongiovanni—a Navy officer

 with less than six years of service—are somewhat less formal, she still may submit

 evidence and argument “regarding why [she] should be retained” and to “consult with

 qualified counsel.” See id. ¶ 15(b). If Bongiovanni is separated only for refusing to

 vaccinate against COVID-19, she will be given an Honorable characterization of

 service absent extenuating circumstances. Id.

       If a Sailor is ultimately separated for refusing to become vaccinated against

 COVID-19, the Sailor will be issued either an honorable or general characterization of

 service consistent with the 2022 National Defense Authorization Act, Pub. L. No. 117-

 81 § 736(a), 135 Stat. 1541, 1800. Merz Decl. ¶ 15(f). If separated, probationary

 officers like Plaintiff Bongiovanni “will be given an Honorable characterization of

 service   unless   there are    extenuating     circumstances”   while   other   Sailors’

 characterization of service will be determined after an opportunity to be heard through

 the process described above. See id. ¶ 15(c).

       A discharged Sailor may seek further review through the Naval Discharge

 Review Board or the BCNR. Id. ¶ 19. The Naval Discharge Review Board may alter

 the terms of a discharge—such as its characterization—on grounds of equity or



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 propriety. See id. The BCNR has far more extensive authority, including the authority

 to void discharges resulting in a Sailor being reinstated in the Navy. Id.

                                   LEGAL STANDARDS

        “‘Federal courts are courts of limited jurisdiction’ and ‘possess only that power

 authorized by Constitution and statute.’” Bishop v. Reno, 210 F.3d 1295, 1298 (11th

 Cir. 2000) (citation omitted). Where a plaintiff fails to demonstrate a court’s subject-

 matter jurisdiction, dismissal is appropriate pursuant to Federal Rule of Civil

 Procedure 12(b)(1). Langston v. Tex. Cap. Bank, NA, No. 8:20-cv-2954, 2021 WL

 698171, at *2 (M.D. Fla. Feb. 23, 2021). If the Court “ha[s] been presented with ‘facts

 beyond the four corners’ of the pleading that are relevant to the question of [subject

 matter jurisdiction], [the Court] may consider them.” See Corbett v. TSA, 930 F.3d

 1225, 1228 (11th Cir. 2019) (citation omitted). “The party invoking federal jurisdiction

 bears the burden of establishing its existence.” Steel Co. v. Citizens for a Better Env’t, 523

 U.S. 83, 104 (1998).

        “Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive

 issue of law.” Neitzke v. Williams, 490 U.S. 319, 326 (1989). To withstand a motion to

 dismiss pursuant to Rule 12(b)(6), a complaint must contain “sufficient factual matter,

 accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009) (citation omitted). “[T]he doctrine of limited reviewability

 of certain military decisions is a matter of justiciability,” and is therefore properly

 considered pursuant to Rule 12(b)(6). Khalsa v. Weinberger, 779 F.2d 1393, 1395 (9th



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 Cir. 1985), aff’d, 787 F.2d 1288 (9th Cir. 1985). In conducting that analysis, a court

 may consider declarations or affidavits from military officials. Id. at 1400.

         Judicial review of claims involving the “complex subtle, and professional

 decisions as to the composition, training, equipping, and control of a military force[,]”

 Gilligan v. Morgan, 413 U.S. 1, 10 (1973), is highly constrained. Rostker v. Goldberg, 453

 U.S. 57, 66 (1981); Aktepe v. United States, 105 F.3d 1400, 1403 (11th Cir. 1997); see also

 Santiago-Lugo v. Warden, 785 F.3d 467 (11th Cir. 2015). Such deference extends to

 constitutional claims and military decisions about the health and welfare of the troops.

 See e.g., Solorio v. United States, 483 U.S. 435, 448 (1987); Mazares v. Dep’t of Navy, 302

 F.3d 1382, 1385 (Fed. Cir. 2002).

                                       ARGUMENT

    I.      Plaintiffs’ Claims for Declaratory or Injunctive Relief with respect to
            the Navy’s Deployment, Assignment, and Operational Decisions are not
            Justiciable.

         Plaintiffs are not entitled to declaratory or injunctive relief dictating the Navy’s

 deployment, assignment, and operational decisions. Am. Compl. ¶¶ 82-83. “[J]udges

 are not given the task of running the Army” or the Navy, and it is the Executive

 officials charged with protecting our national security and defending our borders—not

 courts—who have authority to determine servicemembers’ fitness for duty and

 assignments. Orloff v. Willoughby, 345 U.S. 83, 93 (1953). “[J]udicial inquiry into the

 national-security realm raises ‘concerns for the separation of powers in trenching on

 matters committed to the other branches.’” Ziglar v. Abbasi, 137 S. Ct. 1843, 1861



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 (2017) (citation omitted). “It is this power of oversight and control of military force by

 elected representatives and officials which underlies our entire constitutional

 system[.]” Gilligan, 413 U.S. at 10.

       The problems with judicial intervention in military affairs are not limited to

 formal separation-of-powers concerns, but include practical ones, too. “The

 complex[,] subtle, and professional decisions as to the composition, training,

 equipping, and control of a military force are essentially professional military

 judgments[.]” Id. Accordingly, “it is difficult to conceive of an area of governmental

 activity in which courts have less competence.” Id.; cf. Bryant v. Gates, 532 F.3d 888,

 899 (D.C. Cir. 2008) (Kavanaugh J., concurring) (“[M]ilitary decisions and

 assessments of morale, discipline, and unit cohesion . . . are well beyond the

 competence of judges.”).

       In Reaves v. Ainsworth, 219 U.S. 296 (1911), for example, the Supreme Court

 refused to second-guess the military’s determination of a servicemember’s “fitness for

 promotion.” Id. at 298. In Orloff, the Court emphasized that it had “found no case

 where th[e Supreme] Court ha[d] assumed to revise duty orders as to one lawfully in

 the service.” 345 U.S. at 94. Accordingly, throughout our history, courts declined to

 second-guess military judgments regarding fitness for duty and assignments. See, e.g.

 Harkness v. Sec’y of the Navy, 858 F.3d 437, 443-45 (6th Cir. 2017), cert. denied, 138 S.

 Ct. 2648 (2018); Antonellis v. United States, 723 F.3d 1328, 1336 (Fed. Cir. 2013); Sebrav

 Neville, 801 F.2d 1135, 1141-42 (9th Cir. 1986). And that hesitance has extended even

 to constitutional challenges. See, e.g., Orloff, 345 U.S. at 93-94 (Fifth Amendment);

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  Harkness, 858 F.3d at 443-45 (First Amendment); see also, e.g., United States v. Webster,

  65 M.J. 936, 946-48 (Army Ct. Crim. App. 2008) (rejecting argument that RFRA

  entitled Muslim servicemember to challenge his deployment to Iraq).

         Consistent with these longstanding principles, the Supreme Court recently

  granted the Government’s emergency application for a partial stay of an injunction

  interfering with military assignment decisions concerning unvaccinated Sailors. Navy

  SEALs 1-26, 142 S. Ct. at 1301. As Justice Kavanaugh explained, a federal court does

  not have the authority to “insert[] itself into the [military’s] chain of command,

  overriding military commanders’ professional military judgments.” Id. at 1302.

         Plaintiffs’ request for declaratory and injunctive relief to redress grievances

  about their commanders’ operational decisions and duty assignments, see Am. Compl.

  ¶¶ 82-83, 86, flouts those principles. By requesting an order to require the Navy to

  deploy and assign Plaintiffs without regard for their vaccination status, Plaintiffs ask

  this Court to in effect override military commanders’ “professional military

  judgments” about operational needs and requirements. Gilligan, 413 U.S. at 10; see

  Chappell, 462 U.S. at 300 (warning against suits that “tamper with the established

  relationship between en-listed military personnel and their superior officers”). That

  extraordinary request is neither “appropriate relief” under RFRA, 42 U.S.C. 2000bb-

  1(c), nor consonant with the “traditional principles of equity jurisdiction,” Grupo

  Mexicano de Desarrollo, S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318-19 (1999) (citation

  omitted), that constrain the available relief on their second and third counts, see



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  Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327-38 (2015), and their fourth

  and fifth counts, see 5 U.S.C. § 702 (providing that the APA does not affect the “duty

  of the court to dismiss any action or deny relief on any other appropriate legal or

  equitable ground”); see also Saavedra Bruno v. Albright, 197 F.3d 1153, 1158 (D.C. Cir.

  1999) (Under § 702(1), courts “refuse ‘to decide issues about foreign affairs, military

  policy and other subjects inappropriate for judicial action.’”) (citation omitted). 6

  Plaintiffs cannot demonstrate that the relief against the military “requested here was

  traditionally accorded by courts of equity.” Groupo Mexicano, 527 U.S. at 319.

     II.       The Amended Complaint’s Effort to Redress a Future Involuntary
               Separation is Not Ripe.

           Plaintiffs’ claims are otherwise not ripe for judicial review. “The ripeness

  doctrine examines ‘whether there is sufficient injury to meet Article III’s requirement

  of a case or controversy and, if so, whether the claim is sufficiently mature, and the

  issues sufficiently defined and concrete, to permit effective decision-making by the

  court.’’ Corbett, 930 F.3d at 1232 n.2. (quoting Elend v. Basham, 471 F.3d 1199, 1210-

  11 (11th Cir. 2006)). It “‘keeps federal courts from deciding cases prematurely” and

  “‘from engaging in speculation or wasting their resources through the review of

  potential or abstract disputes.’” Meza v. U.S. Att’y Gen., 693 F.3d 1350, 1357 (11th Cir.

  2012) (quoting United States v. Rivera, 613 F.3d 1046, 1050 (11th Cir. 2010)). Here, the

  Amended Complaint alleges that “Plaintiffs are in the process of involuntary



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           Both “declaratory judgment and injunctive remedies are equitable in nature[.]” Abbott Labs.
  v. Gardner, 387 U.S. 136, 155 (1967).

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  separation, forced retirement . . . , or dismissal and will soon face a Board of Inquiry

  to determine their discharge status or other disciplinary proceedings,” 7 Am. Compl.

  ¶ 81; see also id. ¶ 85, and suggests that Plaintiffs will face “immediate adverse

  consequences,” including “court-martial (criminal) prosecution,” id. ¶ 31. But there

  are many reasons why these injuries are far from certain to occur at all, and Plaintiffs

  face no legally cognizable hardship from delay.

          First, the Amended Complaint’s suggestion that Plaintiffs are certain to receive

  “court-martial (criminal) prosecution,” Am. Compl. ¶ 31 (citation omitted), is, in fact,

  maximally speculative. The Navy has explicitly “withheld to the Vice Chief of Naval

  Operations [“VCNO”]” any “authority to initiate [other] disciplinary proceedings,

  either non-judicial punishment or court-martial” like those Plaintiffs fear. Merz Decl.

  ¶ 13. 8 Instead, the Navy has ordered that “process[ing] for administrative

  separation”—not criminal-in-nature court-martial proceedings—follows for “Navy

  service members refusing the COVID-19 vaccination, absent a pending or approved

  exemption[.]” NAVADMIN 225/21 ¶ 2.a; see also Merz Decl. ¶ 13.




          7
            The Amended Complaint is incorrect to suggest that the Navy has already decided to
  discharge each Plaintiff, misrepresenting that Plaintiffs face “a Board of Inquiry to determine [only]
  their discharge status.” Am. Compl. ¶ 81. This misstates the nature and purpose of a Board of Inquiry
  proceeding. The Board of Inquiry also makes a recommendation about whether a Sailor should be
  retained or separated. See supra at 5-7.
          8
            Plaintiff Kins alleges that he has received “an Article 15, or non-judicial punishment [ ], for
  failure to obey a lawful order under Article 92 of the UCMJ[.]” Am. Compl. ¶ 12. That punishment
  related to conduct other than his refusal to become vaccinated against COVID-19, which is
  unchallenged here. Declaration of Captain Kenneth D. Anderson, ECF No. 31-16 ¶ 10

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        Because Plaintiffs’ involuntary separation will not occur pursuant to the

  challenged DoD vaccination directive “without a second stage of decisionmaking” the

  challenged DoD directive is not ripe for review. Wilderness Soc’y v. Alcock, 83 F.3d 386,

  390 (11th Cir. 1996). Here, Plaintiffs remain several steps of discretionary Navy

  decisionmaking removed from an involuntary separation or discharge—a decision to

  retain a Plaintiff at any of these points will mean that the involuntary separation will

  not occur.

        For Sailors, the initiation of separation proceedings for failure to receive a

  COVID-19 vaccine is just the beginning of an extensive series of opportunities to

  demonstrate to the appropriate authorities that retention, not separation, is

  appropriate. See supra at 5-7. Accordingly, an involuntary separation proceeding itself

  “is a tentative action not fit for judicial review; one can only speculate as to the final

  outcome of any proceeding.” Smith v. Harvey, 541 F. Supp. 2d 8, 13 (D.D.C. 2008).

  And even if a board were to disagree with a Plaintiff’s arguments for retention and

  recommend separation, the Assistant Secretary of the Navy may reject their

  recommendation and nonetheless retain him or her. See supra at 5-6. In these

  circumstances—when the head of the military department had not yet acted on a

  discharge recommendation from a separation board—the Supreme Court has held that

  judicial interference with a military administrative discharge proceeding was

  premature. Beard, 370 U.S. at 42. The Court should not “easily dismiss the possibility

  that [Plaintiffs] will have a fair opportunity to make [their] case to a Board” or other

  separation authority. Shaw v. Austin, 539 F. Supp. 3d 169, 183 (D.D.C. 2021). Plaintiffs

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  will have “multiple opportunities to present their arguments [against separation] to the

  [Navy] and for the [Navy] to respond” by deciding to retain them. See Church v. Biden,

  --- F. Supp. 3d ---, 2021 WL 5179215, at *10 (D.D.C. Nov. 8, 2021) (citation omitted);

  see supra 5-7. Unsurprisingly then, “district courts have similarly concluded that

  military discharge complaints are not ripe at the commencement of discharge

  proceedings; they are ripe only after a plaintiff has been discharged.” Roberts v. Roth, -

  --F. Supp. 3d---, 2022 WL 834148, at *5 (D.D.C. Mar. 21, 2022).

        Plaintiffs also fail to demonstrate judicially cognizable hardship from delay.

  “Postponement of any decision here would not serve as a hardship to [Plaintiffs] given

  that a final decision in [their] favor at the involuntary separation proceedings may

  render this action unnecessary.” Smith, 541 F. Supp. 2d at 13. Any hardship to

  Plaintiffs “is mostly theoretical at this point since [they] ha[ve] not been actually

  discharged, so the Court cannot say that ‘hardship caused by [ ] deferral’ would be so

  ‘immediate and significant’ to ‘overcome the finality and fitness problems inherent in

  attempts to review tentative positions.’” Roberts, 2022 WL 834148, at *5 n.3 (quoting

  Am. Petroleum Inst. v. EPA, 683 F.3d 382, 389 (D.C. Cir. 2012)). And in the meantime,

  Plaintiffs are not being forced to vaccinate. See Bongiovanni v. Austin, No. 3:22-cv-237,

  2022 WL 1642158, at *1 (M.D. Fla. May 24, 2022). Again, the Supreme Court has

  already implicitly balanced these ripeness factors for a plaintiff who was not as far

  removed from separation as Plaintiffs. See Beard, 370 U.S. at 42.

        Nor do Plaintiffs’ complaints about their travel restrictions, duty assignments,

  or other operational decisions by their commanders constitute hardship in the ripeness

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  analysis because these are “effects of a sort that traditionally would [not] have qualified

  as harm.” Ohio Forestry Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 733 (1998); see also Nat’l

  Park Hosp. Ass’n v. Dep’t of the Interior, 538 U.S. 803, 809 (2003) (“[A]dverse effects of a

  strictly legal kind” are “required for a showing of hardship”) (quoting Ohio Forestry

  Ass’n, Inc., 523 U.S. at 733). Again, requests for the court to review and “revise duty

  orders as to one lawfully in the service”—are not justiciable at all. Orloff, 345 U.S. at

  94; see also Speigner v. Alexander, 248 F.3d 1292, 1298 (11th Cir. 2001) (“Military

  promotion is one of the most obvious examples of a personnel decision that is

  integrally related to the military’s structure.”). 9

     III.     Plaintiffs’ Claims are Barred by Military Nonjusticiability Doctrine.

         “[A] a court should not review internal military affairs in the absence of (a) an

  allegation of the deprivation of a constitutional right, or an allegation that the military

  has acted in violation of applicable statutes or its own regulations, and (b) exhaustion

  of available intraservice corrective measures.” Winck v. England, 327 F.3d 1296, 1303

  (11th Cir. 2003) (quoting Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir. 1971)). 10




         9
           Even if Plaintiffs did demonstrate hardship from delay (which they do not) “agency action
  must satisfy both prongs”—“[u]nsuitability for review is determinative.” Huawei Techs. USA, Inc. v.
  FCC, 2 F.4th 421, 435 n.30 (5th Cir. 2021).
         10
            The Mindes “test originally developed from claims in which service members objected to a
  military discharge or other personnel action,” Winck, 327 F.3d at 1303, as Plaintiffs do here, Am.
  Compl. ¶ 31

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          A. Plaintiffs’ Claims for Declaratory and Injunctive Relief are Otherwise
             Not Appropriate Under Mindes and Hodges Because They have not
             Exhausted All Available Intraservice Corrective Measures.

          Binding precedent in this Circuit has long recognized that interests in comity,

  avoiding constitutional concerns about judicial interference with administration of the

  military, and effectuating Congress’s mechanisms for reviewing military personnel

  decisionmaking preclude a court’s use of declaratory or injunctive relief to interfere

  with an ongoing military personnel decisionmaking process. Hodges, 499 F.2d at 420.

  Assuming Plaintiffs’ claims are not “nonjusticable across-the-board” 11 they must

  exhaust “all available military remedies[.]” Winck, 327 F.3d at 1303 n.4, 1303 n.5.

          In Hodges v. Callaway, the former Fifth Circuit articulated the military

  administrative process that must be exhausted “[f]or purposes of this requirement.”

  499 F.2d at 420. Namely, “two types of administrative bodies provide review of

  discharge decisions[:]” “[t]he [Naval] Discharge Review Board” and the BCNR. Id. 12


          11
             Claims for injury that are incident to service in the military are nonjusticiable across-the-
  board unless the claim mounts a facial challenge to military regulations. Winck, 327 F.3d at 1303 n.5;
  Speigner, 248 F.3d at 1296. “Because there are a limited number of positions available at the higher
  levels of command, it is imperative to the military that only those officers determined to be competent
  to serve are retained.” Koury v. McHugh, No. 2:10-cv-3643, 2012 WL 12952633, at *4 (N.D. Ala. Jan.
  23, 2012) (quoting Speigner, 248 F.3d at 1298), aff’d, Koury v. Sec’y, Dep’t of Army, 488 F. App’x 355
  (11th Cir. 2012); see also Burnett v. Pridmore, No. CV 99-B-2718, 2000 WL 33941953, at *5-6 (N.D.
  Ala. Sept. 6, 2000) (finding equal protection claim nonjusticiable), aff’d 277 F.3d 1377 (11th Cir. 2001).
          12
            Under 10 U.S.C. § 1552, Congress has established a Board for Correction of Military
  Records (“BCMR”) in each military department. Each BCMR is a board composed of at least three
  high-ranking civilian employees. The Secretary of each military department, acting through the
  appropriate BCMR, possesses plenary authority to afford relief to Service members injured by adverse
  personnel actions, including but not limited to reversing involuntary separations, removing adverse
  information from personnel files, and awarding back pay and allowances. The Secretary of each
  military department, acting through the BCMR, may “correct any military record . . . when . . .
  necessary to correct an error or remove an injustice.” 10 U.S.C. § 1552(a)(1).


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  Under the rule of Hodges, “[i]f the suit was filed after discharge, the court may not

  retain jurisdiction while the plaintiff resorts to administrative review” and “if the suit

  was filed before discharge, the court may not stay the discharge pending exhaustion of

  administrative remedies.” Id. at 421; see also McCurdy, 359 F.2d at 495. 13

          Plaintiffs have not exhausted their intraservice remedies for the feared discharge

  they seek to redress. Again, Plaintiffs speculate that they may be discharged, see Am.

  Compl. ¶¶ 3, 31, 81, 85, but they may raise their claims before a board or a show cause

  authority during discharge proceedings, so it is far from clear whether they will

  actually be discharged. See supra at 5-7. If Plaintiffs are discharged, they must first seek

  reinstatement or other redress from the BCNR before judicial review. Winck, 327 F.3d

  at 1303 n.4; Hodges, 499 F.2d at 420-24; Mindes, 453 F.2d at 198, 201; McCurdy, 359

  F.2d at 495. 14




          13
             Courts routinely apply the requirement that a Service member exhaust her claims before the
  applicable Board for Correction of Military Records before bringing suit. See, e.g., Crawford v. Tex. Army
  Nat’l Guard, 794 F.2d 1034, 1036 (5th Cir. 1986); Rucker v. Sec’y of the Army, 702 F.2d 966, 970 (11th
  Cir. 1983); Von Hoffburg v. Alexander, 615 F.2d 633, 638, 641 (5th Cir. 1980); Mindes, 453 F.2d at 198;
  McCurdy, 359 F.2d at 495; Leicht v. McHugh, No. 13-60015-CIV, 2013 WL 11971266, at *2-4 (S.D.
  Fla. May 24, 2013); Layman v. Harvey, No. 8:05-cv-2208, 2007 WL 430678, at *6-10 (M.D. Fla. Feb.
  5, 2007); see also Nelson v. Miller, 373 F.2d 474, 479 (3d Cir. 1967) (“The Fifth Circuit . . . has held that
  where post-discharge review could grant the complaining party ‘complete retroactive restoration,’ the
  district court was required to dismiss the complaint[.]”) (citation omitted). Several courts have recently
  denied relief to service members who failed to exhaust their separation remedies before pursuing
  RFRA and First Amendment claims. See, e.g., Church, 2021 WL 5179215, at *10-11; Roberts, 2022 WL
  834148, at *4-5; Mark Short v. Berger, No. CV 22-1151, 2022 WL 1051852, at *4 (C.D. Cal. Mar. 3,
  2022), appeal filed, No. 22-55339 (9th Cir. Apr. 5, 2022).
          14
            Plaintiffs allege that one Plaintiff has filed a complaint under Article 138 of the UCMJ, Am.
  Compl. ¶ 80. Even assuming the Court could redress a future separation by reviewing an Article 138
  decision, Plaintiffs do not allege that the Navy has issued a decision on the Article 138 complaint and
  do not appear to seek review of any Navy decision issued under Article 138.

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         Moreover, nothing in RFRA implicitly overrules Mindes or its exhaustion

  requirement. RFRA permits suits for “appropriate relief against a government.” 42

  U.S.C. § 2000bb-1(c). The Amended Complaint seeks “equitable in nature”

  declaratory and injunctive relief against the military. Abbott Labs., 387 U.S. at 155; see

  Am. Compl. Relief Requested. Suits for equitable “relief against” the military are not

  “appropriate[,]” see 42 U.S.C. § 2000bb-1(c), under Mindes unless its requirements are

  satisfied. Indeed, the Supreme Court was forced to grant the Government’s request for

  emergency relief, to preserve the military’s discretion to make deployment,

  assignment, and other operational decisions, in the face of the Fifth Circuit’s assertion

  that RFRA somehow abrogated military nonjusticiability doctrine. See Navy SEALs 1-

  26, 142 S. Ct. at 1301; U.S. Navy Seals 1-26 v. Biden, 27 F.4th 336, 346 (5th Cir. 2022).

  “[A] major departure from the long tradition of equity practice should not be lightly

  implied.” eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 395 (2006) (Roberts, C.J.,

  concurring) (quoting Weinberger v. Romero-Barcelo, 456 U.S. 305, 320 (1982)).

         B. The Mindes Factors Weigh Against Granting Review.

         Even if Plaintiffs had exhausted all available military remedies, the Court would

  still need to balance four factors to determine whether to grant review to claims in the

  Amended Complaint: (1) “[t]he nature and strength of the plaintiff’s challenge to the

  military determination”; (2) “[t]he potential injury to the plaintiff if review is refused”;

  (3) “[t]he type and degree of anticipated interference with the military function”; and

  (4) “[t]he extent to which the exercise of military expertise or discretion is involved.”



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  Winck, 327 F.3d at 1303 n.4 (quoting Mindes, 453 F.2d at 201); Stinson v. Hornsby, 821

  F.2d 1537, 1540 (11th Cir. 1987). Each factor weighs against Plaintiffs here.

         First, the nature and weakness of Plaintiffs’ claims caution against review. The

  claims raised in the Amended Complaint’s fourth and fifth counts—challenging the

  immunization program under the APA as contrary to 10 U.S.C. § 1107a and arbitrary

  and capricious, Am. Compl. ¶¶ 122-40—surely cannot survive Mindes scrutiny as

  Plaintiffs did not even argue they were likely to succeed on their merits at the

  preliminary injunction stage. ECF No. 13 at 12-20. Indeed, several courts have

  recently determined that similar 10 U.S.C. § 1107a claims are not likely to be

  successful. Crosby v. Austin, No. 8:21-cv-2730, 2022 WL 603784, at *2 (M.D. Fla. Mar.

  1, 2022); Navy SEAL 1 v. Biden, --- F. Supp. 3d ---, 2021 WL 5448970, at *2 (M.D. Fla.

  Nov. 22, 2021); John Doe #1-#14 v. Austin, --- F. Supp. 3d ---, 2021 WL 5816632, at *6

  (N.D. Fla. Nov. 12, 2021); see Am. Compl. ¶¶ 122-32. And “Plaintiffs point to no prior

  case in which an APA-based challenge to an internal military policy survived Mindes

  scrutiny,” 15 Kuang v. U.S. Dep’t of Def., 778 F. App’x 418, 420 (9th Cir. 2019), cert.

  denied, 141 S. Ct. 2565 (2021). Similar claims have been rejected. Oklahoma v. Biden, --

  - F. Supp. 3d ---, 2021 WL 6126230, at *11 n.29 (W.D. Okla. Dec. 28, 2021); see also



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             Although an arbitrary and capricious claim arising under the APA is not identical to an
  arbitrary and capricious claim arising from due process, it is notable that courts “have denied review
  when the constitutional claim was that a serviceman’s due process rights were violated by arbitrary
  and capricious official action.” Nesmith v. Fulton, 615 F.2d 196, 202 (5th Cir. 1980); see also Woodward
  v. Marsh, 658 F.2d 989, 994-95 (5th Cir. 1981); West v. Brown, 558 F.2d 757, 760 (5th Cir. 1977). The
  APA arbitrary and capricious “standard is exceedingly deferential.” Sierra Club v. Van Antwerp, 526
  F.3d 1353, 1360 (11th Cir. 2008) (quoting Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir.
  1996)).

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  Florida v. Dep’t of Health & Hum. Servs., 19 F.4th 1271, 1290-91 (11th Cir. 2021)

  (concluding plaintiff unlikely to succeed in APA claim against vaccination

  requirement outside military context). And as explained infra, many of Plaintiffs’

  claims fail as a matter of law.

         With respect to Plaintiffs’ first count, a claim raised under RFRA, Congress has

  explained that “the compelling interest test as set forth in [ ] Federal court rulings”

  prior to Smith “is a workable test for striking sensible balances between religious liberty

  and competing prior governmental interests.” 42 U.S.C. § 2000bb(a)(4)-(5). Under the

  test applied to rulings involving a military interest, this Court “must give great

  deference to the professional judgment of military authorities concerning the relative

  importance of a particular military interest.” Goldman v. Weinberger, 475 U.S. 503, 507

  (1986); see also S. Rep. No. 103-111, at 12 (1993), as reprinted in 1993 U.S.C.C.A.N.

  1892, 1901 (deference principles apply to RFRA claims); Navy SEALs 1-26, 142 S. Ct.

  at 1302 (Kavanaugh, J., concurring) (reiterating the “reluctan[ce] to intrude upon the

  authority of the Executive in military . . . affairs”). Again, courts have rejected Service

  members’ similar claims. See, e.g. Roth v. Austin, No. 8:22CV3038, 2022 WL 1568830,

  at *28 (D. Neb. May 18, 2022), appeal filed, No. 22-2058 (8th Cir. May 20, 2022).

         Second, Plaintiffs’ alleged potential “loss of military membership” may be “of

  great importance to the plaintiff[s],” but it is “not sufficient to warrant civilian judicial

  intervention in a military decision.” Nesmith v. Fulton, 443 F. Supp. 411, 413 (M.D.

  Ga. 1978), aff’d, 615 F.2d 196 (5th Cir. 1980); see also Khalsa, 779 F.2d at 1400. Again,

  no separation proceeding has even begun, leaving the nature and extent of any injury

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  wholly speculative. See supra at 5-7. The Court should not “easily dismiss the

  possibility that [Plaintiffs] will have a fair opportunity to make [their] case to a Board”

  if one were convened. Shaw, 539 F. Supp. 3d at 183. “[T]he threat to the [Plaintiffs’]

  federally protected rights must be one that cannot be eliminated by [their] defense

  against a single [discharge] prosecution.” Cf. Younger v. Harris, 401 U.S. 37, 46 (1971).

  Because “any harms Plaintiff will face are not irreparable or certain to occur[,]” “[t]he

  second factor weighs against judicial review.” Mark Short, 2022 WL 1051852, at *4.

  To the extent Plaintiffs are seeking to redress the Navy’s operational decisions or their

  duty assignments, these injuries are not the sort that traditionally would have qualified

  as harm and, as explained above, are not otherwise justiciable. See supra at 8-11.

         The final Mindes factors often “present a single inquiry, focusing on disruption

  of military functions[.]” West, 558 F.2d at 760-61. “[M]ilitary readiness and unit

  cohesion would be unacceptably harmed should the Court” issue the prayed-for

  declaratory or injunctive relief implicating the “DoD Vaccine Mandate.” Church, 2021

  WL 5179215, at *18; see, e.g., ECF Nos. 31-4; 31-5. “[F]orcing the [Army] to adjust to

  the risks of including unvaccinated [soldiers] in its ranks is a substantial interference.”

  Thomas Short v. Berger, --- F. Supp. 3d ---, 2022 WL 1203876, at *15 (D. Ariz. Apr. 22,

  2022), (quoting Mark Short, 2022 WL 1051852, at *5), appeal filed, No. 22-15755 (9th

  Cir. May 18, 2022). “[I]llness at sea require[s] transport off the ship” and “[e]ven in

  port, . . . outbreaks of illness” on Navy ships “can result in delays in time sensitive

  maintenance and training as well as increased risk of accident or fire due to strained



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  watch bills.” ECF No. 31-15 ¶ 6. Moreover, “[s]ending ships into combat without

  maximizing the crew’s odds of success, such as would be the case with ship

  deficiencies in ordnance, radar, working weapons or the means to reliably accomplish

  the mission, is a dereliction of duty.” Navy SEALS 1-26, 142 S. Ct. at 1302 (Kavanaugh,

  J., concurring) (citation omitted). Even the risk of a single Plaintiff going unvaccinated

  is serious because unvaccinated individuals have many times the risk of testing positive

  for COVID-19. ECF No. 31-4 ¶¶ 16-17; ECF No. 31-5 ¶¶ 16. To review Plaintiffs’

  claims, the Court “would necessarily involve itself in ‘complex, subtle, and

  professional decisions as to the composition, training, equipping, and control of a

  military force.’” Thomas Short, 2022 WL 1203876, at *15 (quoting Mark Short, 2022

  WL 1051852, at *5). By requiring the military to retain, deploy, or assign each Plaintiff

  without regard for his or her vaccination status, the Court would improperly insert

  itself into each Plaintiff’s chain of command, overriding military commanders’ expert

  judgments about operational needs, including Plaintiffs’ fitness to serve and carry out

  their duties. “[T]he public’s interest in military readiness and the military’s interest in

  Plaintiff[s’] health outweigh Plaintiff[s’] [claimed] religious liberty interest.” Navy

  SEAL 1 v. Austin, ---F. Supp. 3d---, 2022 WL 1294486, at *16 (D.D.C. Apr. 29, 2022),

  appeal filed, No. 22-5114 (D.C. Cir. May 5, 2022).




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      IV.      Plaintiffs’ Remaining Claims Fail as a Matter of Dispositive Issues of
               Law.

          A. Plaintiffs’ Free Exercise Clause Claim Fails.

          Plaintiffs’ claim, Am. Compl. ¶¶ 105-14, that the Navy’s immunization

  program violates the Free Exercise Clause because “their religious beliefs prohibit[]

  them from receiving the available COVID-19 vaccines[,]” id. ¶ 109, fails as a matter of

  law. “The desirability” of the immunization program “in the military is decided by the

  appropriate military officials, and they are under no constitutional mandate to

  abandon their considered professional judgment.” Goldman, 475 U.S. at 509.

          Plaintiffs claim that strict scrutiny applies to this claim, Am. Compl. ¶ 112, but

  they “cite[s] no authority for” their “assumption that courts should review . . . military

  actions under” such a “free-ranging inquiry[.]” See Trump v. Hawaii, 138 S. Ct. 2392,

  2420 n.5 (2018). Plaintiffs fail to plead facts that “permit the court to infer more than

  the mere possibility” that the challenged immunization program is based on anything

  other than considered professional military judgment. See Ashcroft, 556 U.S. at 679;

  Goldman, 475 U.S. at 509; see also Navy SEAL 1, 2022 WL 1294486, at *13.

          B. Plaintiffs’ Due Process Claim Fails as a Matter of Law.

          Although Plaintiffs’ due process claims, Am. Compl. ¶¶ 115-21, are far from

  clear, 16 they fail as a matter of law no matter how they are construed. To the extent


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           Plaintiffs’ due process claims are improperly pleaded in one count. Am. Compl. ¶¶ 115-21.
  Courts in this district have dismissed claims on shotgun pleading grounds where, as here, a count
  “purports to state a claim for a violation of [a plaintiff’s] Fifth Amendment rights, but it is unclear
  whether [the plaintiff] is alleging a violation of his procedural due process rights or his substantive due


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  Plaintiffs raise a void-for-vagueness claim against the vaccination directive, see Am.

  Compl. ¶ 116 (complaining that the directive fails to “provid[e] ‘fair notice] of the rules

  to which [Plaintiffs] are subject”), it must fail. The directive, ECF No. 1-2, states

  clearly what is required of Service members; Plaintiffs can have “no reasonable doubt”

  as to what is requires, see Parker v. Levy, 417 U.S. 733, 757 (1974).

          To the extent Plaintiffs challenge the vaccination directive as violating

  procedural due process, their claim fails because the directive itself is not an

  “adjudicative action[].” Jones v. Governor of Fla., 975 F.3d 1016, 1048 (11th Cir. 2020);

  see also Bi-Metallic Inv. Co. v. State Bd. of Equalization, 239 U.S. 441, 445-46 (1915)

  (“When a rule of conduct applies to more than a few people” due process satisfied by

  Plaintiffs’ “power, immediate or remote, over those who make the rule”); Let Them

  Play MN v. Walz, 517 F. Supp. 3d 870, 886 (D. Minn. 2021); Hartman v. Acton, --- F.

  Supp. 3d ---, 2020 WL 1932896, at *8-10 (S.D. Ohio Apr. 21, 2020). And any formal

  discipline or adverse administrative action, such as involuntary separation, that may




  process rights or both.” Thorn v. Randall, No. 8:14-cv-862, 2014 WL 5094134, at *3 (M.D. Fla. Oct.
  10, 2014). “Procedural due process [and] substantive due process . . . claims each have their own legal
  standards and elements of proof.” Apothecary Dev. Corp., 2011 WL 1071448, at *2. “It is impermissible
  to combine multiple claims with different legal standards into one count.” Id.; see also Clewiston
  Commons LLC v. City of Clewiston, No. 2:18-cv-339, 2019 WL 2515830, at *2 (M.D. Fla. June 18, 2019)
  (directing plaintiff to separate substantive and procedural due process claims into separate counts);
  Arroyo v. Judd, No. 8:10-cv-911, 2010 WL 3044053, at *3 (M.D. Fla. July 30, 2010); Wright v.
  Chattahoochee Valley Cmty. Coll., No. 3:06-cv-1087, 2008 WL 4877948, at *4 (M.D. Ala. Nov. 12,
  2008). Not only do Plaintiffs fail to clarify whether they raise a procedural or a substantive due process
  claim, but they also appear to raise a void for vagueness claim in the same count, see Am. Compl.
  ¶ 116, (complaining about a lack of “fair notice”). Procedural due process, substantive due process,
  and void-for-vagueness doctrine “have their own legal standards and elements of proof.” Apothecary
  Dev. Corp. v. City of Marco Island, No. 2:10-cv-392, 2011 WL 1071448, at *2 (M.D. Fla. Mar. 18, 2011),
  and must be pleaded in separate counts.

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  plausibly result from the failure to vaccinate against COVID-19 would provide ample

  opportunity for procedural due process. See supra at 5-7.

         Any substantive due process claim also fails. Mandatory vaccinations for the

  public at large have long been held not to violate substantive due process. Jacobsen v.

  Massachusetts, 197 U.S. 11, 35 (1905). So there is no basis to doubt that a military

  vaccination order satisfies substantive due process. See id.; Rostker, 453 U.S. at 64-67.

         Moreover, Plaintiffs fail to identify a “constitutionally protected interest in life,

  liberty, or property.” Bank of Jackson Cnty v. Cherry, 980 F.2d 1362, 1366 (11th Cir.

  1996). It is well-settled that “a military officer’s expectation of continued military

  employment does not rise to the level of a property interest unless it is rooted in some

  statute, regulation, or contract.” Doe v. Garrett, 903 F.2d 1455, 1462 (11th Cir. 1990);

  see also Sims v. Fox, 505 F.2d 857, 862-64 (5th Cir. 1974) (no property or liberty interest

  in plaintiff’s discharge from military service); Wilhelm v. Caldera, 90 F. Supp. 2d 3, 8

  (D.D.C. 2000), aff’d, 6 F. App’x 3 (D.C. Cir. 2001); Navas v. Gonzalez Vales, 752 F.2d

  765 (1st Cir. 1985); Rich v. Sec’y of the Army, 735 F.2d 1220 (10th Cir. 1984); Woodard

  v. Marsh, 658 F.2d 989 (5th Cir. 1981); Ampleman v. Schlesinger, 534 F.2d 825 (8th Cir.

  1976). Again. even if Plaintiffs could identify some protected liberty interest, there is

  no plausible dispute that the military’s extensive procedures—both regarding the

  religious exemption process and any consequences from refusal to follow the lawful

  order to vaccinate—provide ample, meaningful notice and opportunity to be heard.

  See supra at 5-7.



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         Plaintiffs’ claim that they were denied an impartial decision maker in

  adjudicating their religious accommodation requests, Am. Compl. ¶ 119, fails even

  assuming it is associated with deprivation of a constitutionally protected interest. See

  Kerry v. Din, 576 U.S. 86, 101 (2015) (Kennedy, J., concurring). Plaintiffs do not

  plausibly allege that their religious accommodation request determination letters failed

  to “provide[] a ‘facially legitimate and bona fide’ reason for” the determination.” Id.

  at 103 (Kennedy, J., concurring) (citation omitted). Even if procedural due process

  required more—including someone impartial to accommodate their request to remain

  unvaccinated while serving in the Navy—Plaintiffs’ reflexive citation of the

  percentages of religious accommodation requests denied comes nowhere close to

  pleading facts that “permit the court to infer more than the mere possibility” that their

  personal individualized adjudications were unconstitutionally biased. 17 See Ashcroft,

  556 U.S. at 679; United States v. Rodriguez, 627 F.3d 1372, 1381-82 (11th Cir. 2010)

  (rejecting mere appearance of bias); Hendrix v. Sec’y, Fla. Dep’t of Corr., 527 F.3d 1149,

  1153-54 (11th Cir. 2008) (same); Whisenhant v. Allen, 556 F.3d 1198, 1209 (11th Cir.

  2009). Courts that have reviewed administrative records developed during the

  religious accommodation request process have found that the military has “made

  individualized determinations of the harm to the” particular Service’s “compelling

  interests in readiness and health and safety of service members, including the

  individual applicants, of granting specific exemptions to particular religious


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         Plaintiffs lack standing to challenge Defendants’ decisions to grant or deny religious
  accommodations requests made by other Service members.

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  claimants.” Roth, 2022 WL 1568830, at *15. “[I]t is not surprising that numerous

  requests, even considered individually, could run afoul of the same handful of

  circumstances warranting denial of an exemption.” Id. Accordingly, Plaintiffs’ due

  process claims, Am. Coml. ¶¶ 115-21, must be dismissed.

         C. Plaintiffs Lack APA Standing to Challenge the Vaccination Directive as
            Contrary to 10 U.S.C. § 1107a, 21 U.S.C. § 360bbb-3 or 42 U.S.C. § 262

         Plaintiffs cannot claim that any agency action is contrary to 1107a, see 5 U.S.C.

  § 706, Am. Compl. ¶¶ 122-32, because their interests fall outside the zone of interests

  protected by the statute. The APA’s grant of standing to persons “adversely affected

  or aggrieved by agency action within the meaning of a relevant statute,” 5 U.S.C.

  § 702, 18 does not extend to the full reach of Article III, and is satisfied only of the

  plaintiff’s interests are “arguably within the zone of interests to be protected or

  regulated by the statute” that the plaintiff says was violated. See Ass’n of Data Processing

  Serv. Orgs., Inc. v. Camp, 397 U.S. 150, 153 (1970); Lexmark Int’l, Inc. v. Static Control

  Components, Inc., 572 U.S. 118, 129-30 (2014). Plaintiffs allege that they have “sincerely

  held religious beliefs that prohibit them from receiving the COVID-19 vaccine” and

  “compel them to oppose the mandate.” Am. Compl. ¶¶ 3, 64. It cannot reasonably be

  assumed that, in “[t]he particular language of” Section 1107a, “Congress intended to

  protect” outright objection to a vaccine on religious, philosophical, or political grounds

  regardless of whether it is FDA approved. See Air Courier Conf. of Am v. Am. Postal



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         Although confusingly pleaded, Plaintiffs state that this count is “brought under the APA.”
  Am. Compl. ¶ 128.

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  Workers Union, AFL-CIO, 498 U.S. 517, 524-25 (1991). For these reasons, count four,

  Am. Compl. ¶¶ 122-32, must be dismissed. 19

         D. The APA Does Not Authorize Plaintiffs’ Programmatic Attack.

         The Court should also dismiss Plaintiffs’ fourth and fifth counts, Am. Compl.

  ¶¶ 122-40, because they fail to clearly identify the “circumscribed, discrete agency

  action[]” or actions at issue. See Norton v. S. Utah Wilderness All., 542 U.S. 55, 62

  (2004). 20 “Under the terms of the APA, [Plaintiffs] must direct [their] attack against

  some particular ‘agency action’ that causes [him] harm.” Lujan v. Nat’l Wildlife Fed’n,

  497 U.S. 871, 891 (1990).

         Here, the Amended Complaint does not merely seek review of the Secretary’s

  August 2021 Memorandum. Rather it seeks review of something it calls the “Navy

  Mandate” as well, see, e.g., Am. Compl. ¶¶ 125, 134, 139, which the Amended

  Complaint defines as the Navy’s general “execut[ion]” of Secretary Austin’s August

  2021 Memorandum, see id. ¶ 1 (defining “Navy Mandate”)—an uncircumscribed list




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             Even if this issue were not determinative, this claim should be dismissed as unripe because
  Plaintiffs “do [] not allege that [they were] specifically denied an FDA-licensed dose” Crosby, 2022
  WL 603784, at *2, after formally requesting one using any aspect of the “comprehensive internal
  system” available “for the review and remedy of complaints and grievances[,]” see Chappell, 462 U.S.
  at 302. Accordingly, Plaintiffs have not obtained “an administrative decision [that] has been
  formalized” in any way on whether the vaccines they are willing to take are available. See Wilderness
  Soc’y, 83 F.3d at 390; Pittman v. Cole, 267 F.3d 1269, 1279-80 (11th Cir. 2001). “The DoD has received
  hundreds of thousands of Pfizer-BioNTech BLA-manufactured, EUA-labeled COVID-19 vaccine
  doses[.]” ECF No. 31-5 ¶ 18.
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           Although confusingly pleaded, Plaintiffs’ fourth count is “brought under the APA.” Am.
  Compl. ¶ 128.


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  of unspecified actions. 21 But as the Supreme Court made clear in Lujan v. National

  Wildlife Federation, a plaintiff cannot use the APA to bring a collective challenge to a

  sweeping group of actions. Broad programmatic attacks are not “agency action” under

  5 U.S.C. §§ 704, 706(2). The Amended Complaint does not identify the guidance it

  challenges with any degree of clarity.

         Plaintiffs may not challenge “the continuing (and thus constantly changing)

  operations of the” Navy as it carries out its vaccination policies. See Lujan, 497 U.S. at

  890. Yet Plaintiffs’ purported APA counts appear to challenge administration of a

  program generally, not a particular agency action. For example, Plaintiffs complain

  that Defendants have “ordered Plaintiffs and all other service members to received

  unlicensed, EUA vaccines ‘as if’ they were FDA-license vaccines[,]” Am. Compl.

  ¶ 123. But the Amended Complaint alleges that the vaccination directive “states that

  only FDA-licensed vaccines, labeled in accordance with FDA requirements, could be

  mandated.” Id.; see ECF No. 1-2. The APA “reflects the legal principle of permitting

  agencies to deal thoroughly in the first instance with issues” and Plaintiffs have made

  no effort to build a record before the military on the availability of certain vaccines.

  See Cousins v. Secy’s of the U.S. Dep’t of Transp., 880 F.2d 603, 610 (1st Cir. 1989).

         That the Secretary’s August 2021 Memorandum might be an agency action does

  not correct the Amended Complaint’s flaws. In Lujan, the Supreme Court dispelled



         21
            The Amended Complaint defines the term “Navy Vaccine Mandate” as ALNAV 062/21,
  Am. Compl. ¶ 25, which appears to be only one aspect of the “Navy Mandate” challenged in counts
  four and five, see Am. Compl. ¶ 1 (defining “Navy Mandate”).

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  any notion that the existence of one agency action permits a suit that nonetheless raises

  a programmatic challenge to proceed:

          [I]t is at least entirely certain that the flaws in the entire “program”—
          consisting principally of the many individual actions referenced in the
          complaint, and presumably actions yet to be taken as well—cannot be
          laid before the courts for wholesale correction under the APA, simply
          because one of them that is ripe for review adversely affects [a plaintiff].

  See Lujan, 497 U.S. at 892-93. Plaintiffs’ APA claims, Am. Compl. ¶¶ 122-40 must be

  dismissed.

     V.      Plaintiffs’ Declaratory and Injunctive Relief Count Fails to State a Claim

          In Count VI of the Amended Complaint—titled “Declaratory and Injunctive

  Relief”—“Plaintiffs seek judicial review and injunctive relief . . . pursuant to the

  inherent equity powers of the Court[.]” Am. Compl. ¶ 145. But the Declaratory

  Judgment Act does not supply a cause of action, only a remedy. Watkins v. Haynes,

  No. CV210-004, 2010 WL 4237721, at *1 (S.D. Ga. Aug. 30, 2010). So too, “while a

  claim for injunctive relief may ‘purport[] to be a cause of action, it is actually a demand

  for equitable relief based on the wrongs alleged in other claims in the pleadings.’”

  Northstar Healthcare Consulting, LLC v. Magellan Behavioral Health Sys., LLC, No. 1:17-

  CV-1071, 2017 WL 7660404, at *2 (N.D. Ga. May 17, 2017) (citation omitted). Thus

  citation to the mere availability of these remedies does not state a separate cause of

  action and the sixth count, Am. Compl. ¶¶ 141-45, must be dismissed. See id.

                                          CONCLUSION

          For the foregoing reasons, the Amended Complaint should be dismissed under

  Rule 12(b)(1) or, in the alternative, under Rule 12(b)(6).

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  Dated: July 1, 2022                    Respectfully submitted,

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